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UNITED STATES DISTRICT COURT

 

 

 

 

Page | District of Connecticut a
P TT fs Fe
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL C “ 2 mi!
v. CASE No noacie HAR 30 P WTS
: : 248.
Edwin Gonzalez, a/k/a "Chino" s0l4 4
VY fr T
Alina P. Reynolds PMS : i I ree : uy
Assistant United States Attoiney oye
Michael L, Moscowitz
Defendant’s Attomey
THE DEFENDANT: pleaded guilty to count one of a substitute information,
Accordingly the defendant is adjudicated guilty of the following offense:
Title & Section Nature of Offense Offense Concluded Court
21:844(a) Possession of OxyCodone February 9, 2005 1

 

The following sentence is imposed pursuant to the Sentencing Act of 1984.
IMPRISONMENT

The defendant is sentenced to time served.

SUPERVISED RELEASE

The defendant shall be on supervised release for a total term of one year, Standard and Mandatory Conditions of Superpised Release
1, 2, 4, 6 and 8 are imposed. In addition, the following Special Conditions are imposed:

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1. The defendant shall participate in a program approved by the Probation Office for inpatient or outpatient shi
abuse treatment and testing. The defendant shall pay all or a portion of the costs associated with treatment based on the @
ability to pay determined by the probation officer.

2, The defendant shall participate in a program approved by the Probation Office for mental health treatment] The
defendant shall pay all, or a portion of the costs associated with treatment, based on the defendant’s ability to pay as determined by
the probation officer. |

 

CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments as follows.

Special Assessment: $100.00 as to count one, to be paid within 14 days from the date of imposition of the sentende|

It is further ordered that the defendant will notify the United States Attorney for this district within 30 days of any change eof name,
residence or mailing address until all fines, restitution, costs and special assessments imposed by this judgment, are paid. !

 

 

 

 

 

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RETURN
I have executed this judgment as follows:
Defendant delivered on

a

CERTIFIED AS A TRUE COPY
ON THIS DATE
Kevin F. Rowe, Clark
BY:
Deputy Clerk

3/24/06
Date of Imposition of Sentence

 

Alan H. Nevas
United States District Judge

Date: 4 {rer OL

to

, with a certified copy of this judgment.

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John F. Bardelli
United States Marshal

By

 

Deputy Marshal

 

 

 
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, - CONDITIONS OF SUPERVISED RELEASE

In addition to the Standard Conditions listed below, the following indicated (Mi) Mandatory Conditions are imposed:

MANDATORY CONDITIONS
a (1) The defendant shall not commit another federal, state or local offense;
Ml (2) The defendant shall not unlawfully possess a controlled substance;

[) (3) The defendant who is convicted for a domestic violence crime as defined in 18 U.S.C, section 3561(b) for the first time shall attend a public,
private, or private non-profit offender rehabilitation program that has been approved by the court, in consultation with a StatelCoalition
{gainst Domestic Violence or other appropriate experts, if an approved program is available within a 50-mile radius of the leka residence of
€ defendant;

@ (4) The defendant shall refrain from any unlawful use of a controlled substance and submit to one drug test within 15 days of rel
supervised release and at least two periodic drug tests thereafter for use of a controlled substance;

I (5) i a fine is imposed and has not been paid upon release to supervised release, the defendant shall adhere to an installment schi
ine;

a (6) The defendant shall (A) make restitution in accordance with 18 U.S.C. sections 2248, 2259, 2264, 2327, 3663, 3663A, and 3

the assessment imposed in accordance with 18 U.S.C. section 3013;

Ow A defendant convicted of a sexual offense as described in 18 U.S.C. sections 4042(c)(4) shall report the address where the de
reside and any subsequent change of residence to the probation officer responsible for supervision, and shall register as a sex
State where the person resides, is employed, carries on a vocation 3Miwa student.

B (8) | The defendant shall cooperate in the collection of a DNA sample from the defendant.

  
  
    
  
  
 
   
 

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While on supervised release, the defendant shall also comply with all of the following Standard Conditions: |

STANDARD CONDITIONS

The defendant shall not leave the judicial district or other specified geographic area without the permission of ‘the court or probation officer;
¢ defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and kor plete written
report within the first five days of each month; _ . . .
3 ‘The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4 The defendant shall support the defendant’s dependents and meet other family responsibilities (including, but not limited to, ¢

 

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No

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the terms of any court order or administrative process pursuant to the law of a state, the District of Columbia, or any other posbession or
territory of the United States requiring payments by the defendant for the support and maintenance of any child or 6f a child afd|the parent

with whom the child is living}; . . _,
(5) The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or othér acceptable
reasons;
6 The defendant shal! notify the probation officer at least ten days prior to any change of residence or employment; t |
7 The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any coftrolled

substance, or any araphernalia related to any controlled substance, except as prescribed by a physician, i
(8) The defendant s ail not frequent places where controlled substances are illegally sold, used, distributed, or administered, or o

places
specified by the court;

(9) e defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convi tad of a felony
unless granted permission to do so by the probation officer; . . .
(10) The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscdtipn of any

contraband observed in plain view by the probation officer; . .
{i 3} The defendant shat! notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcemeng officer;

12 The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without {he permission
of the court; . :
(13) The defendant shall pay the special assessment imposed or adhere to a court-ordered installment schedule for the payment of the|special
assessment; . . ; . oy .
(14) The defendant shall notify the probation officer of any material change in the defendant’s economic circumstances that might t the
defendant's ability to pay any unpaid amount of restitution, fines, or special assessments. ;

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The defendant shall report to the Probation Office in the district to which the defendant is released within 72 hi cand that
rstand tha

release from the custody of the U.S. Bureau of Prisons, Upon a finding of a violation of supervised release, Iu
the court may (1) revoke supervision and impose a term of imprisonment, (2) extend the term of supervision, a
modify the conditions of supervision.

Ses

These conditions have been read to me. I fully understand the conditions and have been provided a copy of theip

|
(Signed) Serer
Defendant Date |

 

U.S. Probation Officer/Designated Witness Date

 

 
